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EXHIBIT A

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SCHEDULE A36

Following the Parties’ execution of this Schedule A36 (“SOW”), CONTRACTOR ( “KPMG LLP” or
“KPMG”) is authorized to perform the services (“Services”) as defined below on behalf of
COMPANY (“EFH Corporate Services Company” or “EFH”) pursuant to the terms and conditions
contained in the Master Services Agreement C0631124C dated November 1, 2009 and
subsequently amended (collectively referred to as the “Agreement’).

This SOW shall be effective as of June 13, 2016 (the “Effective Date”) and shall remain in full
force and effect until it is either (a) superseded by a change order (“CO”) or Schedule A-XX, or (b)
unti! terminated in accordance with the Agreement or this SOW, or (c) January 31, 2017,
whichever occurs first (the “Expiration Date”).

SCOPE OF WORK AND APPROACH

The Services will be performed in accordance with the specifications and instructions, if any,
attached hereto and identified in the List of Attachments. The Services will be scheduled at the
direction of COMPANY'S Project Sponsor as identified herein.

During the term of this SOW, KPMG will provide professional services for COMPANY’s Internal Audit
(IA) co-sourced indicative projects as listed below. These projects are indicative and are subject
to change based on COMPANY’s needs and as mutually agreed upon by both parties.

Miscellaneous (Audit
Planning, Status Updates, EFH Business Services IT 108 110 215
ClO Requests, etc.)

IT Application Outsourcing

EFH Business Services IT 400 400
Effectiveness
Converge d Systems EFH Business Services IT 350 350
Availability
SOX Testing - IT EFH Business Services IT 1,000 700 1,700
To Be Identified EFH Business Services IT 270 230 500
APPROACH

Key activities included in the projects noted above include:

« Define audit project objectives and obtain IA Management approval for individual audit project
scope

« Perform audit testing and document results in IA workpaper repository (TeamMate}

* Provide results to [A management for review and final submission

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DELIVERABLES

The intended deliverables associated with this project include:

¢ Audit workpapers documented in Archer or TeamMate per EFH Internal Audit standards

« Audit planning and reporting documented in TeamMate, per EFH Internal Audit standards
e« Periodic status reporting

Deliverables will neither be prepared on KPMG letterhead nor contain the KPMG logo or other
references to KPMG. These deliverables, however, may be prepared on COMPANY letterhead or
contain the COMPANY logo if instructed to do so by the Project Sponsor.

Each deliverable will be provided to the Project Sponsor and other members of senior management,
as applicable, for their review. Management will take full responsibility for each deliverable and
is solely responsible for classifying any control matters of concern as deficiencies, significant
deficiencies or material weaknesses, if applicable. Each deliverable is considered an internal
COMPANY report or deliverable that may be distributed as management determines to be
appropriate for its needs. For testing work, the deliverable may include conclusions on the individual
control objectives tested based upon approved detailed criteria established by the Project Sponsor.
In the event detailed criteria is not available, control objectives will be determined to be met only
when ali sample items tested are found to be functioning effectively.

CONTRACTOR may attach a transmittal communication to each deliverable, or provide a periodic
transmittal communications referring to the deliverables that have been provided previously. Neither
this CONTRACTOR transmittal communication, nor a copy thereof, should accompany any reports
or deliverables shared outside COMPANY. Should COMPANY attach its own transmittal fetter when
reports or deliverables are shared externally, such transmittal letter may not indicate that the report
or deliverable was prepared by CONTRACTOR or that the findings were based on input or
test work provided by CONTRACTOR. Further, CONTRACTOR’s role in supporting COMPANY’s
internal audit function or other projects may not be publicly disclosed (other than to COMPANY’s
external auditor) without CONTRACTOR’s written consent.

COMPANY PARTICIPATION AND RESPONSIBILITIES

During the development of this Agreement, CONTRACTOR has been guided by certain
assumptions about the project scope, and level of COMPANY’s involvement and support.

COMPANY’s management is responsible for establishing and maintaining an effective internal
control process. Our assistance is intended to help management in fulfilling these responsibilities.

COMPANY will designate a project sponsor (“Project Sponsor” - a senior member of management
who has the requisite skills and competencies to oversee the services being provided). The Project
Sponsor is responsible for establishing the objectives & scope, and determining the nature, timing,
and extent of procedures; for approving the service delivery plan; and for maintaining appropriate
day-to-day oversight of the CONTRACTOR team. In addition, the Project Sponsor will have
responsibility for reviewing, approving, and taking full responsibility for engagement deliverables
prepared during the engagement that document the results; for coordinating with management
to determine whether control matters of concern noted constitute deficiencies, significant
deficiencies or material weaknesses; for reporting the results within COMPANY’s reporting
structure, including the Audit Committee; for evaluating the observations and recommendations
that arise from the services; and for monitoring corrective action taken.
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Notwithstanding the foregoing, CONTRACTOR shall not be obligated to fulfill any particular
obligation to provide Services to the extent (and only to the extent) that CONTRACTOR is
unable to fulfill such obligation, as a direct result of any of the following dependencies not being
completed in all material respects:

¢ Appropriate access to the number and type of resources agreed upon by the parties and/or
relevant documentation

*« Timely management review and approval of recommendations

« Appropriate access to relevant data associated with process(es) and system(s) in scope
of the specific audits

OTHER MATTERS

KPMG will provide Services in accordance with the terms and conditions of this SOW. The Services
as outlined in this SOW constitute an Advisory Engagement conducted under the American Institute
of Certified Public Accountants (‘AICPA’) Standards for Consulting Services. Such Services are not
intended to be an audit, examination, attestation, special report or agreed-upon procedures
engagement as those services are defined in AICPA literature applicable to such engagements
conducted by independent auditors. Accordingly, these services will not result in the issuance
of a written communication to third parties by KPMG directly reporting on financial data or internal
control or expressing a conclusion or any other form of assurance.

CONTRACTOR uses third party service providers within and without the United States to provide
at CONTRACTOR’s direction, administrative and clerical services to CONTRACTOR.
Accordingly, COMPANY consents to CONTRACTOR’s disclosure to such third party service
providers of data and information received from or at the request or direction of COMPANY for the
foregoing purposes; however, such COMPANY authorization does not relieve CONTRACTOR of
its confidentiality obligations hereunder and CONTRACTOR shall remain responsible and liable for
breaches of confidentiality committed by any such third party provider.

Sarbanes-Oxley Act of 2002
The following paragraph supersedes Article 43(a) of the Agreement:

In accepting this engagement, COMPANY acknowledges that completion of this engagement or
acceptance of deliverables resulting from this engagement will not constitute the sole basis for
iis assessment or evaluation of internal control over financial reporting or the primary basis for its
compliance with its principal officer certification requirements under Section 302 of the Sarbanes-
Oxley Act of 2002 (ihe Act}. This engagement shall not be construed to be the sole basis to
support the COMPANY'S responsibilities under Section 404 of the Act requiring each annual
report filed under Section 13(a) or 15{d} of the Securities Exchange Act of 1934 to contain an
internal control report from managemeni. It is the responsibility of COMPANY management to
establish and maintain an adequate internal contro! structure and procedures for financial
reporting and to assess, as of the end of the most recent fiscal year of the COMPANY, the
effectiveness of the internal control structure and procedures of the COMPANY for _ financial
reporting.

Other Parties

KPMG has performed a limited internal search for relationships based on the parties identified by
COMPANY. Based on that internal search, KPMG and member firms of the KPMG network of

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independent firms and firms and entities controtied by, or under common control with, one or more
such member firms (collectively, “Member Firms’) has provided services to the following
organizations identified by COMPANY:

e« KPMG LLP in the US and one or more other member Firms of KPMG Int! provide audit, tax and
advisory services to Capgemini America, inc and or affiliates.

¢ KPMG LLP in the US provides tax and advisory services and one or more other member Firms
of KPMG Intl provide audit, tax and advisory services to HCL TECHNOLOGIES, LTD and or
affiliates.

* KPMG LLP in the US and one or more member firms of KPMG International provide audit, tax,
and advisory services to ACCENTURE and/or affiliates.

By signing this SOW, COMPANY agrees that these relationships do not (i) constitute a limitation on
the Services requested; (ii) create a basis for disqualification of KPMG or its professionals; or (iii)
constitute a conflict of interest for purposes of KPMG’s engagement to perform the services under
this Schedule A36 for COMPANY. COMPANY expressly waives its right to assert any such conflict
against KPMG.

KPMG’s process for conducting searches of potential conflicts takes place at the time the
organizations are identified for review by COMPANY. However, if KPMG becomes aware of any
potential conilicts after the start of the engagement, KPMG will promptly inform COMPANY. In
addition, during the course of this engagement, COMPANY agrees that it will inform KPMG of
additional organizations or name changes for the organizations previously provided by COMPANY.
At such time, KPMG will perform an additional lirnited internal search for relationships on those
organizations. If identified, KPMG will advise COMPANY of the general nature of any services
provided to those organizations (i.e. audit, tax and/or advisory).

lf COMPANY fails to promptly notify KPMG of its objection to the identified relationship(s), COMPANY
agrees that KPMG’s professional relationship with an organization does not impact KPMG’s
engagement to perform the Services under this Schedule A36 for COMPANY.

KPMG reserves the right to resign from this engagement at any time if a conflict, as contemplated by
the professional standards of the AICPA, law or regulation, arises or becomes known to KPMG that
prohibits KPMG from conducting this engagement, or in KPMG’s judgment, would impair KPMG’s
ability to perform objectively. If KPMG serves as independent auditors of an organization, KPMG may
require consent from the organization, which will be determined on a case-by-case basis.

KPMG will take all reasonable steps to prevent the disclosure of confidential information between the
KPMG team serving COMPANY and the KPMG teams serving the identified organizations.
COMPANY hereby also acknowledges and agrees that KPMG may be in possession of confidential
information concerning these organizations that may be relevant to COMPANY'S procedures and
that such information will not be disclosed to COMPANY unless the organization provides written
consent to such disclosure in advance.

Where KPMG provides audit services to an organization, our professional responsibilities may require
that we inform the KPMG team serving that organization about information coming to our attention
that affects KPMG’s engagement to audit that organization’s consolidated financial statements. By
your signature below you acknowledge that such communication, if deemed necessary in our sole
judgment, will require no approval fram you on this matter.

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WORK SITE

The work site will be the following location(s): CONTRACTOR &/or COMPANY offices located in or
near Dallas, TX.

COMPENSATION, INVOICES AND PAYMENT

As full compensation for the satisfactory performance by CONTRACTOR of the Work authorized
pursuant to this Schedule A36, COMPANY will compensate CONTRACTOR as follows.

PROFESSIONAL AND SUPPORT STAFF FEES SCHEDULE

Role Rate
Partner / Managing Director $320
Director / Senior Manager $285
Manager $245
senior Associate $185
Associate $120

The estimated effort for this project is 3,165 hours with related professional fees between $570,000
and $605,000 and this project is not authorized to exceed $615,000. CONTRACTOR will bill only
for hours spent performing substantive Services for COMPANY; substantive Services do not
include any administrative expenses of whatsoever kind. Any extension or increase in spend will
require a CO signed by an authorized agent of each party. If travel is required, normal and
reasonable travel expenses will be reimbursed in accordance with Article 5 and Attachment 5 of
the Agreement {Reimbursable Expense Policy).

The rates specified in this Schedule A36 will remain in effect, with respect to and until completion
of the Work authorized pursuant to this Schedule A36.

All invcices shall be submitted to the United States Bankruptcy Court for the District of Delaware and
to:

P. ©. Box 20
Dallas, Texas 75221-0020

OR, BUT NOT BOTH PAPER AND ELECTRONIC, ONE INVOICE PER EMAIL
Email: ap.invoicing@energyfutureholdings.com (Include location where Work was performed.)

With an electronic copy to: Drew. Cameron@energyfutureholdings.com

KEY PERSONNEL

CONTRACTOR will employ all reasonable efforts to ensure that Assigned Personnel remain so
assigned until such Services are accepted by COMPANY; provided, however, that in the event
that any such individuals are reassigned by CONTRACTOR or otherwise become unavailable to
perform such Services, CONTRACTOR will provide, by way of replacement, individuals with
reasonably equivalent experience and expertise.

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LIST OF ATTACHMENTS

COMPANY and CONTRACTOR agree that the following described attachments, if any, are
incorporated herein in their entirety as fully as completely rewritten herein.

n/a

Services not specified above may be authorized only through a separate Schedule A-XX, or through
a CO signed by a duly authorized agent of each party.

RESERVATION OF RIGHTS

Nothing in this Statement of Work shall constitute or be deemed (a) an allowance or disallowance
of any claim, including administrative expense claims under section 503(b) of the Bankruptcy
Code, (b} an assumption or rejection of this Statement of Work, any other agreement between the
parties, or any other executory contract or unexpired lease under section 365 of the Bankruptcy
Code, (c} a waiver of any of the rights of the Buyer to dispute claims asserted against the Buyer
in the chapter 11 cases commenced by the Buyer, or (d) change of any priority levels existing in the
absence of this Statement of Work.

KPMG LLP EFH CORPORATE SERVICES COMPANY
By: ! A Cx By: “Dre Conmerrornr

ignature / Signature

Name: David Cargile Name: Drew Cameron

Title: Managing Director Title: VP, Internal Audit

Date: July 12, 2016 Date: Sly 13, 216

